Case 1:13-cv-13086-JGD Document 38-3 Filed 07/15/15 Page1of2

Exhibit B
Case 1:13-cv-13086-JGD Document 38-3 Filed 07/15/15 Page 2 of 2

Chantelle D'Angelo

anneaiebi SANNA SE
From: Chantelle D'Angelo
Sent: Tuesday, August 26, 2014 9:09 AM
To: '‘Bmitry Lev, Esq.
Subject: RE: Niles v. Town of Wakefield et al

Hello Attorney Lev,
We assent to a 30-day extension to respond to our discovery requests. Best of luck with the move!

Best,
Chantelle

Chantelle D'Angelo, Esq.

Louison, Costello, Condon & Pfaff, LLP
101 Summer Street

Boston, MA 02110

Tel: (617) 439-0305

Fax: {617) 439-0325
cdangelo@lccplaw.com

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e-mail.

From: Dmitry Lev, Esq. [mailto:diev@levlaw.net]
Sent: Tuesday, August 19, 2014 8:43 PM

To: Chantelle D'Angelo

Cc: Dougias Louison

Subject: Re: Niles v. Town of Wakefield et al

Sir,
1am requesting a 30 day extension to respond to your discovery requests. | just returned from vacation, and! am
moving houses next week. Surely you can imagine the havoc that the move and the preparations are wreaking with my

time.

1 appreciate your courtesy in this regard.

Very truly yours,

Dmitry Lev, Esq.
Law Offices of D. Lev, P.C.
